Case 1:19-cr-20839-CMA Document 35 Entered on FLSD Docket 06/29/2020 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 19-20839- CR-ALTONAGA


  UNITED STATES OF AMERICA

  vs.

  EMMANUEL BELLO ARIAS,

          Defendant.
                                                             /


                   MOTION FOR DOWNWARD SENTENCING DEPARTURE


          COMES NOW the United States, by and through the undersigned Assistant United States Attorney,

  and files this Motion for a Downward Sentencing Departure, pursuant to U.S.S.G. § 5K1.1, with respect to

  defendant Emmanuel BELLO-Arias, and in support states the following:

  1.      The defendant was arrested on January 9, 2020 and charged in a three-count indictment with drug

  trafficking offenses, specifically, conspiracy to distribute cocaine, knowing and intending that it would be

  illegally imported into the United States, and conspiracy to import cocaine, in violation of Title 21, United

  States Code, Section 963 (Counts 1 and 2), and conspiracy to possess with intent to distribute cocaine, in

  violation of Title 21, United States Code, Section 846 (Count 3).

  2.      The defendant changed his plea to guilty as to Count 2 on February 25, 2020, pursuant to a written

  plea agreement. As part of the plea agreement, the defendant agreed to cooperate with the United States

  in the investigation and prosecution of other criminal activities and offenders.

  3.      The defendant has been debriefed several times by agents in furtherance of his cooperation and has

  provided a significant amount of information pursuant to the cooperation agreement. The information

  provided by the defendant has been of substantial assistance to the United States in the investigation and

  prosecution of other offenders and offenses. Accordingly, the government believes that the defendant

  should be sentenced below the advisory guideline range, as set forth in the Presentence Investigation Report,

  pursuant to Section 5K1.1 of the United States Sentencing Guidelines.
Case 1:19-cr-20839-CMA Document 35 Entered on FLSD Docket 06/29/2020 Page 2 of 3



  4.      The specific areas of the defendant’s cooperation upon which the government basis this motion are:

              a. Information leading to the indictment and U.S. arrest of a Dominican drug trafficker.

              b. Information concerning the drug trafficking activities of two previously indicted

                  defendants, which information was used in the extradition packages seeking the

                  defendant’s arrest and extradition from two foreign nations.

              c. Information concerning the drug trafficking activities of a criminal associate and assistance

                  in gaining the cooperation of that individual with the government.

              d. Information provided in debriefings since the time of his arrest concerning the activities of

                  members of his criminal organization, including individuals who have been charged,

                  charged and arrested, and/or not yet charged.

  5.      The government will provide additional details of the defendant’s cooperation, as well as a specific

  sentencing recommendation, at the time of the sentencing hearing.

          WHEREFORE the United States respectfully requests that the Court depart downward from the

  advisory sentencing guideline range, pursuant to U.S.S.G. § 5K1.1.

                                                   Respectfully submitted,

                                                   ARIANA FAJARDO ORSHAN
                                                   UNITED STATES ATTORNEY



                                           By:     ___/S/___________________________________
                                                   RICHARD E. GETCHELL
                                                   ASSISTANT UNITED STATES ATTORNEY
                                                   FLA. BAR NO. 817643
                                                   99 N.E. 4th Street
                                                   Miami, Florida 33132
                                                   (305) 961-9281
                                                   (305) 536-7213 (fax)
                                                   Richard.getchell@usdoj.gov




                                                       2
Case 1:19-cr-20839-CMA Document 35 Entered on FLSD Docket 06/29/2020 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via
  CM/ECF this 29th day of June, 2020.


                                                    /S/
                                          Richard E. Getchell
                                                 Assistant United States Attorney




                                             3
